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 6                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 7
     UNITED STATES OF AMERICA,                      )
 8                                                  )
                          Plaintiff,                )
 9           v.                                     )          2:08-CR-0064-RLH (GWF)
                                                    )
10   MELISSA R. BEECROFT,                           )
                                                    )
11                        Defendant.                )

12                                     ORDER OF FORFEITURE

13          On December 15, 2011, defendant MELISSA R. BEECROFT was found guilty by a jury of

14   Counts One, Ten, Eleven, Thirteen and Fourteen with Mail Fraud, Wire Fraud, and Conspiracy to

15   Commit Bank Fraud, Mail Fraud, and Wire Fraud in violation of Title 18, United States Code,

16   Sections 1341, 1343, 1344, and 1349. Docket #363.

17          This Court finds that MELISSA R. BEECROFT shall pay a criminal forfeiture money

18   judgment of the following:

19   Count One           Forfeiture Allegations             $107,000,000.00 in United States
                         One and Two                        Currency
20
     Count Ten           Forfeiture Allegations             $330,000.00 in United States
21                       Nineteen and Twenty                Currency

22   Count Eleven        Forfeiture Allegations             $305,000.00 in United States
                         Twenty-One and Twenty-Two          Currency
23
     Count Thirteen      Forfeiture Allegations             $325,000.00 in United States
24                       Twenty-Five and Twenty-Six         Currency

25   Count Fourteen      Forfeiture Allegations             $460,000.00 in United States
                         Twenty-Seven and Twenty-Eight      Currency
26   ...
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 1   the United States of America, pursuant to Title 18, United States Code, Sections 1341, 1343, 1344,

 2   and 1349; Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section 982(a)(2)(A);

 3   and Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section

 4   2461(c); and Title 21, United States Code, Section 853(p).

 5          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

 6   States recover from MELISSA R. BEECROFT a criminal forfeiture money judgment in the amount

 7   of:

 8                 Count One             $107,000,000.00 in United States Currency
 9                 Count Ten             $330,000.00 in United States Currency
10                 Count Eleven          $305,000.00 in United States Currency
11                 Count Thirteen        $325,000.00 in United States Currency
12                 Count Fourteen        $460,000.00 in United States Currency
13                      3rd
            DATED this ______         February
                                      January
                        7th day of __________________, 2011.
                                                       2012.
14

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                                                UNITED STATES DISTRICT JUDGE
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